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                IN THE UNITED STATES BANKRUPTCY COURT
                  IN AND FOR THE DISTRICT OF DELAWARE

American Home Mortgage,                      )       Case No. 07-11047 CSS
      et al.,                                )       Chapter 11
                                             )       Jointly Administered
                                             )
               Debtors.                      )


                             CERTIFICATE OF SERVICE

       I, Kristi J. Doughty, hereby certify this 30th day of September, 2008 that service of
the Notice of Motion, Motion, Exhibits and proposed Order was made electronically
and (via) first class mail to the following:

American Home Mortgage Holdings, Inc.                Guillermo A. Martinez Bahena
538 Broadhollow Rd.                                  1051 Rock Springs Road
Melville, NY 11747                                   Escondido, CA 92026
Debtor                                               Borrower

Pauline K. Morgan                                    United States Trustee
Edward J. Kosmowski, Esq.                            844 King Street, Room 2207
Young, Conaway, Stargatt & Taylor                    Lockbox #35
1000 West St., 17th Floor                            Wilmington, DE 19899-0035
P.O. Box 391
Wilmington, DE 19899-0391
Attorney for Debtor

Kerri K. Mumford, Esq.
Landis, Rath & Cobb, LLP
919 Market Street, Suite 600
Wilmington, DE 19801
Attorney for Official Committee
of Unsecured Creditors


                                      WHITTINGTON & AULGUR

                                      /s/ Kristi J. Doughty
                                      Kristi J. Doughty(No. 3826)
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                                      P.O. Box 1040
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                                      Attorney for Movant
